244 F.2d 956
    GENERAL INSURANCE COMPANY OF AMERICAv.Glenn A. HOLMES et al.
    No. 5553.
    United States Court of Appeals Tenth Circuit.
    March 5, 1957.
    
      Appeal from the United States District Court for the Western District of Oklahoma.
      Cheek, Cheek &amp; Cheek, Oklahoma City, Okl., for appellant.
      Carmon C. Harris, Oklahoma City, Okl., for appellees.
      Before BRATTON, Chief Judge, and HUXMAN, Circuit Judge.
      PER CURIAM.
    
    
      1
      Dismissed on joint motion of the parties.
    
    